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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

NICHOLAS BERGERON and NICK                                   Case No. 6:20-cv-06283
QUATTROCIOCCHI, individually and on behalf of
others similarly situated,
                                                             STIPULATED PROTECTIVE
                       Plaintiffs,                           ORDER

       v.

ROCHESTER INSTITUTE OF TECHNOLOGY,

                       Defendant.


1.     PURPOSES AND LIMITATIONS

       Disclosure and discovery activity in this action are likely to involve production of

confidential, proprietary, or private information for which special protection from public

disclosure and from use for any purpose other than prosecuting this litigation may be warranted.

Accordingly, the parties hereby stipulate to and petition the court to enter the following

Stipulated Protective Order. The parties acknowledge that this Order does not confer blanket

protections on all disclosures or responses to discovery and that the protection it affords from

public disclosure and use extends only to the limited information or items that are entitled to

confidential treatment under the applicable legal principles. The parties further acknowledge, as

set forth in Section 12.3, below, that this Stipulated Protective Order does not entitle them to file

confidential information under seal; Local Civil Rule 5.3 sets forth the procedures that must be

followed and the standards that will be applied when a party seeks permission from the court to

file material under seal.

2.     DEFINITIONS

       2.1     Challenging Party:     a Party or Non-Party that challenges the designation of



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information or items under this Order.

        2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is

generated, stored or maintained) or tangible things that qualify for protection under Federal Rule

of Civil Procedure 26(c), and information protected by the Family Education Rights and Privacy

Act, 20 U.S.C. § 1232g, 34 CFR Part 99 (“FERPA”).

        2.3     Counsel (without qualifier): Outside Counsel of Record and House Counsel (as

well as their support staff).

        2.4     Designating Party: a Party or Non-Party that designates information or items that

it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

        2.5     Disclosure or Discovery Material: all items or information, regardless of the

medium or manner in which it is generated, stored, or maintained (including, among other things,

testimony, transcripts, and tangible things), that are produced or generated in disclosures or

responses to discovery in this matter.

        2.6     Expert: a person with specialized knowledge or experience in a matter pertinent

to the litigation who has been retained by a Party or its counsel to serve as an expert witness or as

a consultant in this action.

        2.7     House Counsel: attorneys who are employees of a party to this action. House

Counsel does not include Outside Counsel of Record or any other outside counsel.

        2.8     Non-Party: any natural person, partnership, corporation, association, or other

legal entity not named as a Party to this action.

        2.9     Outside Counsel of Record: attorneys who are not employees of a party to this

action but are retained to represent or advise a party to this action and have appeared in this

action on behalf of that party or are affiliated with a law firm which has appeared on behalf of




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that party.

        2.10   Party: any party to this action, including all of its officers, directors, employees,

consultants, retained experts, and Outside Counsel of Record (and their support staffs).

        2.11   Producing Party: a Party or Non-Party that produces Disclosure or Discovery

Material in this action.

        2.12   Professional Vendors: persons or entities that provide litigation support services

(e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

organizing, storing, or retrieving data in any form or medium) and their employees and

subcontractors.

        2.13   Protected Material: any Disclosure or Discovery Material that is designated as

“CONFIDENTIAL.”

        2.14   Receiving Party: a Party that receives Disclosure or Discovery Material from a

Producing Party.

3.      SCOPE

        The protections conferred by this Stipulation and Order cover not only Protected Material

(as defined above), but also (1) any information copied or extracted from Protected Material; (2)

all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

However, the protections conferred by this Stipulation and Order do not cover the following

information: (a) any information that is in the public domain at the time of disclosure to a

Receiving Party or becomes part of the public domain after its disclosure to a Receiving Party as

a result of publication not involving a violation of this Order, including becoming part of the

public record through trial or otherwise; and (b) any information known to the Receiving Party




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prior to the disclosure or obtained by the Receiving Party after the disclosure from a source who

obtained the information lawfully and under no obligation of confidentiality to the Designating

Party. Any use of Protected Material at trial shall be governed by a separate agreement or order.

4.     DURATION

       Even after final disposition of this litigation, the confidentiality obligations imposed by

this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court

order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all

claims and defenses in this action, with or without prejudice; and (2) final judgment herein after

the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this

action, including the time limits for filing any motions or applications for extension of time

pursuant to applicable law.

5.     DESIGNATING PROTECTED MATERIAL

       5.1     Exercise of Restraint and Care in Designating Material for Protection. Each Party

or Non-Party that designates information or items for protection under this Order must take care

to limit any such designation to specific material that qualifies under the appropriate standards.

The Designating Party must designate for protection only those parts of material, documents,

items, or oral or written communications that qualify – so that other portions of the material,

documents, items, or communications for which protection is not warranted are not swept

unjustifiably within the ambit of this Order.

       Mass, indiscriminate, or routinized designations are prohibited. Designations that are

shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

unnecessarily encumber or retard the case development process or to impose unnecessary

expenses and burdens on other parties) expose the Designating Party to sanctions.




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         If it comes to a Designating Party’s attention that information or items that it designated

for protection do not qualify for protection, that Designating Party must promptly notify all other

Parties that it is withdrawing the mistaken designation.

         5.2    Manner and Timing of Designations. Except as otherwise provided in this Order

(see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

designated before the material is disclosed or produced.

         Designation in conformity with this Order requires:

                (a) for information in documentary form (e.g., paper or electronic documents, but

                excluding transcripts of depositions or other pretrial or trial proceedings), that the

                Producing Party affix the legend “CONFIDENTIAL” to each page that contains

                protected material. If only a portion or portions of the material on a page qualifies

                for protection, the Producing Party also must clearly identify the protected

                portion(s) (e.g., by making appropriate markings in the margins).

A Party or Non-Party that makes original documents or materials available for inspection need

not designate them for protection until after the inspecting Party has indicated which material it

would like copied and produced. During the inspection and before the designation, all of the

material made available for inspection shall be deemed “CONFIDENTIAL.” After the inspecting

Party has identified the documents it wants copied and produced, the Producing Party must

determine which documents, or portions thereof, qualify for protection under this Order. Then,

before    producing    the   specified   documents,    the   Producing     Party   must    affix   the

“CONFIDENTIAL” legend to each page that contains Protected Material. If only a portion or

portions of the material on a page qualifies for protection, the Producing Party also must clearly




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identify the protected portion(s) (e.g., by making appropriate markings in the margins).

               (b) for testimony given in deposition or in other pretrial or trial proceedings, that

               the Designating Party identify on the record, before the close of the deposition,

               hearing, or other proceeding, all protected testimony.

               (c) for information produced in some form other than documentary and for any

               other tangible items, that the Producing Party affix in a prominent place on the

               exterior of the container or containers in which the information or item is stored

               the legend “CONFIDENTIAL.” If only a portion or portions of the information or

               item warrant protection, the Producing Party, to the extent practicable, shall

               identify the protected portion(s).

       5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

designate qualified information or items does not, standing alone, waive the Designating Party’s

right to secure protection under this Order for such material. Upon timely correction of a

designation, the Receiving Party must make reasonable efforts to assure that the material is

treated in accordance with the provisions of this Order.

6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

       6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of

confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

challenge a confidentiality designation by electing not to mount a challenge promptly after the

original designation is disclosed.

       6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution




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process by providing written notice of each designation it is challenging and describing the basis

for each challenge. To avoid ambiguity as to whether a challenge has been made, the written

notice must recite that the challenge to confidentiality is being made in accordance with this

specific paragraph of the Protective Order. The parties shall attempt to resolve each challenge in

good faith and must begin the process by conferring directly (in voice to voice dialogue; other

forms of communication are not sufficient) within 14 days of the date of service of notice. In

conferring, the Challenging Party must explain the basis for its belief that the confidentiality

designation was not proper and must give the Designating Party an opportunity to review the

designated material, to reconsider the circumstances, and, if no change in designation is offered,

to explain the basis for the chosen designation. A Challenging Party may proceed to the next

stage of the challenge process only if it has engaged in this meet and confer process first or

establishes that the Designating Party is unwilling to participate in the meet and confer process in

a timely manner.

       6.3     Judicial Intervention. If the Parties cannot resolve a challenge without court

intervention, the Designating Party shall file and serve a motion to retain confidentiality (and in

compliance with Local Civil Rule 5.3, if applicable) within 21 days of the initial notice of

challenge or within 14 days of the parties agreeing that the meet and confer process will not

resolve their dispute, whichever is earlier. Each such motion must be accompanied by a

competent declaration affirming that the movant has complied with the meet and confer

requirements imposed in the preceding paragraph. Failure by the Designating Party to make

such a motion including the required declaration within 21 days (or 14 days, if applicable) shall

automatically waive the confidentiality designation for each challenged designation. In addition,

the Challenging Party may file a motion challenging a confidentiality designation at any time if




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there is good cause for doing so, including a challenge to the designation of a deposition

transcript or any portions thereof. Any motion brought pursuant to this provision must be

accompanied by a competent declaration affirming that the movant has complied with the meet

and confer requirements imposed by the preceding paragraph.

       The burden of persuasion in any such challenge proceeding shall be on the Designating

Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass or impose

unnecessary expenses and burdens on other parties) may expose the Challenging Party to

sanctions. Unless the Designating Party has waived the confidentiality designation by failing to

file a motion to retain confidentiality as described above, all parties shall continue to afford the

material in question the level of protection to which it is entitled under the Producing Party’s

designation until the court rules on the challenge.

7.     ACCESS TO AND USE OF PROTECTED MATERIAL

       7.1     Basic Principles. A Receiving Party may use Protected Material that is disclosed

or produced by another Party or by a Non-Party in connection with this case only for

prosecuting, defending, or attempting to settle this litigation. Such Protected Material may be

disclosed only to the categories of persons and under the conditions described in this Order.

When the litigation has been terminated, a Receiving Party must comply with the provisions of

section 13 below (FINAL DISPOSITION).

       Protected Material must be stored and maintained by a Receiving Party at a location and

in a secure manner that ensures that access is limited to the persons authorized under this Order.

        7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

ordered by the court or permitted in writing by the Designating Party, a Receiving Party may

disclose any information or item designated “CONFIDENTIAL” only to:




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      (a) the Receiving Party’s Outside Counsel of Record in this action, as well as

      employees of said Outside Counsel of Record to whom it is reasonably necessary

      to disclose the information for this litigation and who have signed the

      “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit

      A;

      (b) the officers, directors, and employees (including House Counsel) of the

      Receiving Party to whom disclosure is reasonably necessary for this litigation and

      who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit

      A);

      (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure

      is reasonably necessary for this litigation and who have signed the

      “Acknowledgment and Agreement to Be Bound” (Exhibit A);

      (d) the court and its personnel;

      (e) court reporters and their staff, professional jury or trial consultants, mock

      jurors, and Professional Vendors to whom disclosure is reasonably necessary for

      this litigation and who have signed the “Acknowledgment and Agreement to Be

      Bound” (Exhibit A);

      (f)   during their depositions, witnesses in the action to whom disclosure is

      reasonably necessary and who have signed the “Acknowledgment and Agreement

      to Be Bound” (Exhibit A), unless otherwise agreed by the Designating Party or

      ordered by the court. Pages of transcribed deposition testimony or exhibits to

      depositions that reveal Protected Material must be separately bound by the court

      reporter and may not be disclosed to anyone except as permitted under this




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              Stipulated Protective Order.

              (g)    the author, recipient, or individual who was subject matter of the

              communication within a document containing the information or a custodian or

              other person who otherwise possessed or knew the information.

8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

LITIGATION

       If a Party is served with a subpoena or a court order issued in other litigation that compels

disclosure of any information or items designated in this action as “CONFIDENTIAL,” that

Party must:

              (a) promptly notify in writing the Designating Party. Such notification shall

              include a copy of the subpoena or court order;

              (b) promptly notify in writing the party who caused the subpoena or order to

              issue in the other litigation that some or all of the material covered by the

              subpoena or order is subject to this Protective Order. Such notification shall

              include a copy of this Stipulated Protective Order; and

              (c) cooperate with respect to all reasonable procedures sought to be pursued by

              the Designating Party whose Protected Material may be affected.

              If the Designating Party timely seeks a protective order, the Party served with the

              subpoena or court order shall not produce any information designated in this

              action as “CONFIDENTIAL” before a determination by the court from which the

              subpoena or order issued, unless the Party has obtained the Designating Party’s

              permission. The Designating Party shall bear the burden and expense of seeking

              protection in that court of its confidential material – and nothing in these




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             provisions should be construed as authorizing or encouraging a Receiving Party in

             this action to disobey a lawful directive from another court.

9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS

LITIGATION

             (a) The terms of this Order are applicable to information produced by a Non-

             Party in this action and designated as “CONFIDENTIAL.” Such information

             produced by Non-Parties in connection with this litigation is protected by the

             remedies and relief provided by this Order. Nothing in these provisions should be

             construed as prohibiting a Non-Party from seeking additional protections.

             (b) In the event that a Party is required, by a valid discovery request, to produce a

             Non-Party’s confidential information in its possession, and the Party is subject to

             an agreement with the Non-Party not to produce the Non-Party’s confidential

             information, then the Party shall:

                    (1) promptly notify in writing the Requesting Party and the Non-Party

                    that some or all of the information requested is subject to a confidentiality

                    agreement with a Non-Party;

                    (2)   promptly provide the Non-Party with a copy of the Stipulated

                    Protective Order in this litigation, the relevant discovery request(s), and a

                    reasonably specific description of the information requested; and

                    (3) make the information requested available for inspection by the Non-

                    Party.

             (c) If the Non-Party fails to object or seek a protective order from this court

             within 14 days of receiving the notice and accompanying information, the




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              Receiving Party may produce the Non-Party’s confidential information responsive

              to the discovery request. If the Non-Party timely seeks a protective order, the

              Receiving Party shall not produce any information in its possession or control that

              is subject to the confidentiality agreement with the Non-Party before a

              determination by the court. Absent a court order to the contrary, the Non-Party

              shall bear the burden and expense of seeking protection in this court of its

              Protected Material.

10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

       If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

Material to any person or in any circumstance not authorized under this Stipulated Protective

Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the

unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the

Protected Material, (c) inform the person or persons to whom unauthorized disclosures were

made of all the terms of this Order, and (d) request such person or persons to execute the

“Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

11.    INADVERTENT         PRODUCTION         OF    NON-RESPONSIVE,         PRIVILEGED       OR

OTHERWISE PROTECTED             MATERIAL

       When a Producing Party gives notice to Receiving Parties that certain inadvertently

produced material is not responsive or relevant to the claims and defenses in this action, or

subject to a claim of privilege or other protection, the obligations of the Receiving Parties are

those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to

modify whatever procedure may be established in an e-discovery order that provides for

production without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e),




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insofar as the parties reach an agreement on the effect of disclosure of a communication or

information covered by the attorney-client privilege or work product protection, the parties may

incorporate their agreement in the stipulated protective order submitted to the court.

12.    MISCELLANEOUS

       12.1    Right to Further Relief. Nothing in this Order abridges the right of any person to

seek its modification by the court in the future.

       12.2    Right to Assert Other Objections. By stipulating to the entry of this Protective

Order no Party waives any right it otherwise would have to object to disclosing or producing any

information or item on any ground not addressed in this Stipulated Protective Order. Similarly,

no Party waives any right to object on any ground to use in evidence of any of the material

covered by this Protective Order.

       12.3    Filing Protected Material. Without written permission from the Designating Party

or a court order secured after appropriate notice to all interested persons, a Party may not file in

the public record in this action any Protected Material. A Party that seeks to file under seal any

Protected Material must comply with Local Civil Rule 5.3. Protected Material may only be filed

under seal pursuant to a court order authorizing the sealing of the specific Protected Material at

issue. If a Receiving Party's request to file Protected Material under seal pursuant to Local Civil

Rule 5.3 is denied by the court, then the Receiving Party may file the information in the public

record unless otherwise instructed by the court.

13.    FINAL DISPOSITION

       Within 60 days after the final disposition of this action, as defined in paragraph 4, each

Receiving Party must return all Protected Material to the Producing Party or destroy such

material. As used in this subdivision, “all Protected Material” includes all copies, abstracts,




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compilations, summaries, and any other format reproducing or capturing any of the Protected

Material. Whether the Protected Material is returned or destroyed, the Receiving Party must

submit a written certification to the Producing Party (and, if not the same person or entity, to the

Designating Party) by the 60 day deadline that (1) identifies (by category, where appropriate) all

the Protected Material that was returned or destroyed and (2) affirms that the Receiving Party has

not retained any copies, abstracts, compilations, summaries or any other format reproducing or

capturing any of the Protected Material. Notwithstanding this provision, Counsel are entitled to

retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,

legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney work

product, and consultant and expert work product, even if such materials contain Protected

Material. Any such archival copies that contain or constitute Protected Material remain subject to

this Protective Order as set forth in Section 4 (DURATION).



IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

Dated: August 2, 2021

                                      By:     /s/ Roy T. Willey
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 So ordered.

 __________________________
 MARK W. PEDERSEN
 U.S. Magistrate Judge




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                                            EXHIBIT A

                  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       I, _____________________________ [print or type full name], of _________________

[print or type full address], declare under penalty of perjury that I have read in its entirety and

understand the Stipulated Protective Order that was issued by the United States District Court for

the Western District of New York on [date] in the case of ___________ [insert formal name of

the case and the number and initials assigned to it by the court]. I agree to comply with and to

be bound by all the terms of this Stipulated Protective Order and I understand and acknowledge

that failure to so comply could expose me to sanctions and punishment in the nature of contempt. I

solemnly promise that I will not disclose in any manner any information or item that is subject to

this Stipulated Protective Order to any person or entity except in strict compliance with the

provisions of this Order.

       I further agree to submit to the jurisdiction of the United States District Court for the

Western District of New York for the purpose of enforcing the terms of this Stipulated Protective

Order, even if such enforcement proceedings occur after termination of this action.

       I hereby appoint __________________________ [print or type full name] of

_______________________________________ [print or type full address and telephone number]

as my New York agent for service of process in connection with this action or any proceedings

related to enforcement of this Stipulated Protective Order.

Date: ______________________________________

City and State where sworn and signed: _________________________________

Printed name: _______________________________

Signature: __________________________________




                                                17
